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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Victor B. Perkins,                               Case No. 20-CV-1361 (SRN/LIB)

                        Petitioner,

            v.                                                 ORDER

 Mr. Kallis, Warden,

                        Respondent.


Victor B. Perkins, Reg. No. 08783-039, FMC-Rochester, Qtrs 1-2, PMB 4000, Rochester,
MN 55903-4000, Petitioner pro se.

Ana H. Voss, Ann M. Bildtsen, and Erin M. Secord, United States Attorney's Office,
300 South Fourth Street, Suite 600, Minneapolis, MN 55415 for Respondent.


        Although Mr. Perkins filed a Petition for Writ of Habeas Corpus pursuant to 28

U.S.C. Section 2241 (“Habeas Petition”), his sole request for relief under the Habeas

Petition was for a compassionate release under the Coronavirus Aid, Relief, and

Economic Security Act (the “CARES Act”). That request has been previously denied by

this Court in two Orders [Doc. Nos. 5, 9]. Accordingly, the Habeas Petition is denied as

moot.

        SO ORDERED.

        LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: October 20, 2020                         s/Susan Richard Nelson
                                                SUSAN RICHARD NELSON
                                                United States District Court
